I




                              EXFIIBIT A




    Case 1:17-cv-00659-TDS-LPA Document 19-1 Filed 05/17/18 Page 1 of 6
 n. texisNexis-
                                  H aprgrd      v, f ranl<l i n .&!!sg!!ap Qery,
                    United States District Court for the Eastern District of Missouri, Eastern Division

                                        May 9,2018, Decided; May 9,2018, Filed

                                              Case No. 4:17 -CY -2005-5NLJ

Reporter
2018 U.S. Dist. LEXIS 78043 *; 2018 WL 2129612
                                                                allegedly owes AT&T. This case is about the Letter's
Jeffrey Hanford, on behalf of himself and others similarly
                                                                content only. The Letter is one page, double sided. ln
situated, Plaintiff, v. FRANKLIN COLLECTION
                                                                relevant part, the front side reads as follows:
SERVICE, lNC., Defendant.
                                                                    YOUR ACCOUNT HAS T2I BEEN PLACED FOR
Counsel: [*1] For Jeffrey Hanford, individually and on              DELINQUENT DEBT COLLECTION.
behalf of all others similarly situated, Plaintiff: Nathan D
                                                                    IF YOU ARE NOT PAYING THIS ACCOUNT IN
Sturycz, LEAD ATTORNEY, STURYCZ LAW GROUP,
Edwardsville, lL.
                                                                    FULL, CONTACT YOUR ATTORNEY
                                                                    REGARDING OUR POTENTIAL REMEDIES, AND
For Franklin Collection Service, lnc., Defendant: Louis J           YOUR POTENTTAL DEFENSES, OR CALL (888)
Wade, LEAD ATTORNEY, MCDOWELL AND RICE,                             215-8961.
Kansas City, MO.                                                    I   INTEND TO REPORT THIS ACCOUNT ON
                                                                    YOUR CREDIT HISTORY AFTER 30 DAYS OF
Judges: STEPHEN N. LIMBAUGH, JR., UNITED                            YOU RECEIVING THIS NOTICE.
STATES DISTRICT JUDGE.
                                                                    THIS COMMUNICATION IS FROM A DEBT
Opinion by: STEPHEN N. LIMBAUGH, JR.                                COLLECTOR. THIS IS AN ATTEMPT TO
                                                                    COLLECT A DEBT, AND ANY INFORMATION
Opinion                                                             OBTAINED WILL BE USED FOR THAT
                                                                    PURPOSE.

                                                                    **PLEASE      SEE      REVERSE        SIDE   FOR
MEMORANDUM AND ORDER                                                IMPORTANT INFORMATION--
                                                                (#16-1 at 2.) The reverse side, near the middle of the
Plaintiff, hoping to represent a class of all Missourians       page, reads as follows:
who received the same letter, alleges defendant
Franklin Collection Service, lnc. ("Debt Collector"),               UNLESS yOU NOTTFY US WtrHrN THTRTY (30)
violated lhe Fair Debt Collectians Practices 4ot {llAct")           DAYS AFTER RECEIVING THIS NOTICE THAT
when it mailed him a collection letter ("the Letter"). Debt         YOU DISPUTE THE VALIDITY OF THE DEBT OR
 Collector moved to dismiss, or in the alternative, for             ANY PORTION THEREOF, THIS OFFICE WLL
judgment on the pleadings (#20). Plaintiff opposed the              ASSUME THIS DEBT IS VALID. IF YOU NOTIFY
motion and moved for partialjudgment on the pleadings               THIS OFFTCE rN WR|TING WTTHIN THIRTY (30)
(#25). The issues are ripe, and Debt Collector's motion             DAYS FROM RECEIVING THIS NOTICE THAT
will be granted.                                                    THE DEBT, OR ANY PART THEREOF, IS
                                                                    DISPUTED THIS OFFICE WILL OBTAIN
                                                                    VERIFICATION OF THE DEBT OR OBTAIN A
L Factual Background                                                COPY OF A JUDGMENT AND MAIL YOU A COPY
                                                                    OF SUCH JUDGMENT OR VERIFICATION. IF
Back in July 2016, Debt Collector mailed the Letter to             YOU REQUEST THIS OFFICE IN WRITING
plaintiff, presumably trying to collect a debt that plaintiff      wlTHlN THrRry (30) DAYS AFTER RECETVTNG

                                                     CAREN ENLOE


         Case 1:17-cv-00659-TDS-LPA Document 19-1 Filed 05/17/18 Page 2 of 6
                                           2018 U.S. Dist. LEXIS 78043,"2

        THIS NOTICE, THIS OFFICE WILL PROVIDE YOU             standard tied to the very last rung on the sophistication
        WITH THE NAME AND ADDRESS OF              THE         ladder."' ld. (quoting Sj{arLv. Quptsified Qpllsction
        oRTGTNAL CREDTTOR     rsl   rF DTFFERENT FROM          Sew.. tnc.. 3BA F3d 313. 317 (Bth Cir. 2A04). lt
    THE CURRENT CREDITOR.                                     "protects the uninformed or naive consumer, yet also
(#16-1 at 3.) The text is all black, and it is all the same   contains an objective element of reasonableness to
size.                                                         protect debt collectors from liability for peculiar
                                                              interpretations of collection letters." $trand, 38Q F.3d at
Plaintiff alleges Debt Collector violated 1$ U,$.C. S         31f.1f;.
169?q(U, ls U.$^C-Aj$92e, and RsMa. $4Q7.P2s.1
by mailing the Letter.                                        "[\A/]here the legal implications of statements made in a
                                                              collection letter are disputed, the dispute constitutes a
                                                              question of law that may be resolved by the Court on a
ll. LegalStandard                                             dispositive motion." FotLnie v- Miclland    9&dt    M:g!nL
                                                              lnc"                      2014 U.5. DisL LEXIS
                                                                     -N_q. 4:14-CV-81_0"-"8W5.
A  Rub l2{Hlfl motion to dismiss for failure to state a       162219, 2Al4 WL 66A7197. at
                                                                                          .3 (8.D. Mo. Nau. 19,
claim tests the sufficiency of a complaint and eliminates     201 4) (quoting O' Connsr   \/,W
                                                                                                                       ..7
those actions "which are fatally flawed in their legal        2A13 U.S. Dist.""!-EXIS 135491, 2a13 Wt- 5340927,
premises and designed to fail, thereby sparing litigants      (€.0. Mp. Sept. 23, 2Q13)).
the burden of unnecessary pretrial and trial activity."
Youns_u."Qitv oJ St. Qharles. 244 F.3d 623, 627 {8th" Qir.
2001). "To survive a motion to dismiss, a claim must be       1.16 U.S;0,:L169?q{U (Count l)
facially plausible, meaning that the 'factual content . . .


allows the court to draw the reasonable inference that        Sectian   1_69"29 of the Act sets forth certain information
the defendant is liable for the misconduct alleged."' Cole    that a    debt collector must convey in writing to a
v. Hqfiiq Dist- Sa-- 399E.sct 856. 881 l$lb_3r, 2Qfi)         consumer within five days after the initial communication
(alteration in original) (quoting Ashcroft v. lqh^l, 556      when attempting to collect a debt. As relevant here, the
u.s. 662, 678, 129 S. Qt. 1937, 173 L. Ed. 2d 868             notice must include
QAgg). The Court must "accept the allegations                      (3) a statement that unless the consumer, within
        in the complaint as true and draw all
contained                                                          thirty days after receipt of the notice, disputes the
reasonable inferences in favor of the nonmoving party."            validity of the debt, or any portion thereof, the debt
ld. (quoting Qaqns v. Mineta, 410 F.3cl 1A36. 1A39 ($th            will be assumed to be valid by the debt collector;
Cir,-2895)).
                                                                  (4) a statement that if the consumer notifies the
                                                                  debt collector in writing within the thirty-day [.5]
lll. Discussion                                                   period that the debt, or any portion thereof, is
                                                                  disputed, the debt collector will obtain verification of
The Court will analyze each count separately                      the debt or a copy of a judgment against the
                                                                  consumer and a copy of such verification or
                                                                  judgment will be mailed to the consumer by the
A. The Act                                                        debt collector; and
                                                                  (5) a statement that, upon the consumer's written
"The purpose of the [Act] is to eliminate abusive debt            request within the thirty-day period, the debt
collection practices by debt collectors[.]" Dunham v.             collector will provide the consumer with the name
Ppflfaliq-Recqupry Assocs.. LLC, 663 F-,3d 997, 10Aa              and address of the original creditor, if different from
t1th Cir. 2011) (quoting Richmond v. Higgins. 435 F.3d            the current creditor.
B2$,328 (&h el!.2-A}qt. "When a court is evaluating a
debt collection communication[,] it must view it 'through     15 U.S.Q. $$ 16e2s(a)(s.)-{5.}.
the eyes of an unsophisticated consumer,"' Bland u.
I-VNV Fut4srs- LLe- Eg F. $upp. 34 1142. 1156 (8.0.           While including this language is necessary to comply
Ma. 2A1Q ([*4]quoting Freyermutl't v. Qrc*dit Eureau          with $ f 692g, it is not always sufficient, See Vetrana v.
Serys., lnc., ?48 F.Sd 767, 771 &th Cir. 24il)). "This        CBE ?rp. lnc.. No. CVlS31B\JSAKT, 2a16 U.$. Dist.
standard is 'designed to protect consumers of below           LEXIS 1U)396. 2016 WL 4Affis44, at "5JE.D.NJAAq,
average sophistication or intelligence without having the     l, 201Q). This is because "collection activities and
                                             CAREN ENLOE Page 2 of 5


          Case 1:17-cv-00659-TDS-LPA Document 19-1 Filed 05/17/18 Page 3 of 6
                                             2018 U.S. Dist. LEXIS 78043, .5

communication during   the 30-day period may not                this exact language. The Court did find fivel cases
overshadow or be inconsistent with the disclosure of the        where plaintiffs challenged collection letters that
consumer's right to dispute the debt or request the             included this language (or almost identical language): lF
name and address of the original creditor." 15 U-S.C. -S        YOU ARE NOT PAYING THIS ACCOUNT IN FULL,
 16929l/|). A consumer's rights are overshadowed or             CONTACT YOUR ATTORNEY REGARDING OUR
contradicted "when a debt-collection letter conveys             POTENTIAL REMEDIES, AND YOUR DEFENSES, OR
information in a confusing or contradictory fashion so as       CALL. But the plaintiffs in those cases did not argue the
to   cloud the required message with uncertainty." Ianguage overshadowed $* 1$929(a)(4)-61:'s writing
 Tilatitsky v. Mpdicrcdit, Jnc.," No. 4:16:CV-811-JCH,  requirement. While these cases will inform the Court's
 2016 U.S.  Dist. LEXIS 14A4%,    2016 W- 5946il9, at.3 analysis of plaintiffs threat-of-imminent-legal-action
(8.0. lVq. QcL 11, 2016) (quoting Founie, 2Q14 U.S. argument (addressed below), they are of little help in
 Dist. LEXIE l$2219-2Q14 VvL 36Q1192 at'3). Plaintiff answering the question presented by this challenge.
alleges the Letter overshadows or contradicts his right Similarly, the cases cited by both parties deal with
to [-6] dispute the debt in four ways.                  challenges to letters and language that are different
                                                        than the [*8] Letter at issue in this case. So those
First, plaintiff claims the Letter "conflicts with and cases only go so far, and none are binding on this
overshadows the 'in writing' notices required [by] 75 Court.
 U.S.C. ${$l 16929(a}{A")-(5) on the back of the Letter by
 representing that 'lF YOU ARE NOT PAYING THIS                  Turning to the Letter, even if the language on the front
ACCOUNT lN FULL. . . CALL (888)215-8961."'(#16 at               side of the Letter is confusing, an           unsophisticated
 10, 11 66) (third alteration in original) (quoting #16-1 aI    consumer surely isn't confused about his rights after
2). Thus, plaintiff argues, "an unsophisticated consumer        reading the back side. After all, "when a prominent
may reasonably interpret the Letter to mean that 'if you        instruction in the body of the letter warns that there is
are not paying this account in full because you dispute         important information on the reverse side, a reasonable
the debt or a portion thereof, call Defendanl."' (# 24 at       reader, even if unsophisticated, would turn the paper
7.) Plaintiff also points out that the "Letter offers no text   over and read the back." MqSky v-f"C SJs., lne--308
that could correct or explain the contradiction between         F.3d 188, 191 {2d Qir.2Aa4. The Letter in this case
its directive for consumers to call Defendant 'lF YOU           instructs readers to "PLEASE SEE REVERSE SIDE
ARE NOT PAYING THIS ACCOUNT lN FULL'and the                     FOR IMPORTANT INFORMATION." The instruction is
disclosure aimed at complying with $ 1S92q;' (#24 atB.)         toward the bottom of the front side, but it is set off by
                                                                two asterisks on each side, and the font is the same
Debt Collector argues that plaintiffs interpretation (if you    size as the rest of the letter. Thus, after reading the
are not paying this account in full because you dispute         entire letter, the consumer is presented with two options
the debt or a portion thereof, call us) relies on language      (assuming he is not paying the debt): "(1) the
that is not actually in the Letter. lnstead, "the Letter        [consumer] should contact an attorney if he does not
merely gives [p]laintiff the option to contact [Debt            intend to pay the debt in full or (2) the [consumer] can
Collectorl by phone to discuss the amount." (#32 at 3.)         dispute the validity of the debt within thirty days."
Debt Collector also argues                    plaintiffs [*7]    Piersan v. Franklin Qallea,tion Se.y., lnq.. 965 F. $ttpp.
interpretation-that telling a consumer he may dispute a         ?d 957-97Q (8.D. Tenr- 2a14 (interpreting [*9] the
debt by telephone necessarily overshadows the Act's             same language at issue in this Letter). lf the consumer
debt validation protections-creates a conflict between
$ 169?sb)$) and *$ 1692s(a)(4)-(5). lt creates a
conflict, according to Debt Collector, because this Court
                                                                I PjgSpa*y.-EfAn\lin Qalection
has held that consumers may "dispute the validity of                                                                    -_?d
their debt    in   ways other than writing" under $             957. L61 (E.D_. Tenn. 2A13.), Hulinq )/..Franklin Collection
1692gJk)(3.). Eusch v. Valarity, LLC, Na. 4:12-CV-?372:         Sety.-"t:"p,, Na. 1_:16-CV-A37A-CC-JS& 2016 U.S. Dist. LEXIS
                                                                123742,201Q"*INL 48A3196, at .1 (N.D. Qa. Sept. 13, 2A16)";
JA                                             L466221. at
                                                                Cavington v. E[pnKtin Catlectian Servs., lnc., Na. 16-2262-
"4 (E.D. Mq, Feb. 5, 2014j.
                                                                JWL, 2016 U.S-        Dis_t. LEXIS 1a36A1, 2016 WL4159731, at.1

Before analyzing the Letter, the Court notes that it found      tD. Kan-Agq. 5, 2A16li Rivera v. F$nkljn Caltectian Servs.,
                                                                t n c.. N o. CV 1 7 -637-Zp1l U S-Aj6LlEXlSJJU.ag-29
no case where a plaintiff made this exact challenge to                                          "
                                                                 3075085, at -1 (8.D. Pa. Julv 19, 201!); Clark v. Franklin
                                                                Coilection Serv., lnc.,.No.J4-CV-9067, 2015 U.S. DiSl. LEXIS
                                                                 70944, 2015 WL 3486767, at "1 (Q.N.J. June 2. 2415).

                                              CAREN ENLOE Page 3 of 5


         Case 1:17-cv-00659-TDS-LPA Document 19-1 Filed 05/17/18 Page 4 of 6
                                             2018 U.S. Dist. LEXIS 78043,.9

wants to dispute the debt, he can do so by calling or by        NOTICE" overshadows [.11] or contradicts his $ 16929
writing. See 7usch, 2A14 U.S- QjSL LEN$ 14569. 2014             rights. Specifically, plaintiff claims the Letter "represents
 WL 466221,"at .4. By calling, the consumer exercises           that [Debt Collector] intends to report the account at
his rights under $ /69?q(a)(9j. By writing, he exercises        issue on [p]laintiffs credit history regardless of the
his rights under $ *16gZahX4) or $ 1492qb.)16),                 protections set forth by ?5 U.S.C. i 169?s, without
depending on what he writes. The back side makes                explaining how the validation notice and credit reporting
clear the consumer must write if he wants verification of       'deadline' fit together (e.9., that-among other things-
the debt or a copy of the judgment. lt also makes clear         [Debt Collector] would cease its collection efforts upon
the consumer must write if he wants the name and                receiving a validation request)." (#16 at 10, 11 68.) lt is
address of the original creditor. Thus, the language on         true that, when a consumer disputes a debt in writing, a
the front side of the Letter does not overshadow or             collector must put the brakes on collection efforts until it
contradict the writing requirements on the back side.           sends the consumer a proper response. 1q U"S.C. $
                                                                L992gIU But the Act does not require collectors to tell
ln the Third Circuit, consumers cannot dispute a debt by        consumers this information. Also, Debt Collector did not
calling. This difference is fatal to plaintiffs reliance on     threaten   to report during the 30-day dispute window,
Caprio v" Health ftevenue Recoverv Arcqp, LLQ, 7aQ              only after. This argument also fails.
f.Sd 142 {3d_9u-2Q13). The letter at issue in Caprio
instructed consumers to call if they had questions or felt      Fourth, plaintiff argues the language "lF YOU ARE NOT
they did not owe the debt. Cawlg-_Zpgf .3d__at_J!5..The         PAYING THIS ACCOUNT IN FULL, CONTACT YOUR
Third Circuit explained t'the 'please call'        language     ATTORNEY REGARDING                   OUR     POTENTIAL
basically instructed. .. a debtorto call orwrite... to          REMEDIES, AND YOUR POTENTIAL DEFENSES" is a
dispute the debt itself. While he or she certainly could        threat to pursue imminent legal action that overshadows
(and, in actuality, must) raise a debt dispute in writing, rT   or contradicts his $ 7692o rights. Collection letters that
is well established that a telephone call is not a legally      threaten negative consequences (including legal action)
effective alternative for disputing the debt;' ld, at 151       if a  consumer fails to take action during the 30-
(emphasis added). [.10] But in this district-the Eastern        day 1.121 dispute window might overshadow or
District of Missouri-it has been held that a telephone          contradict a consumer's $_1.0929 rights. See Fgunie,
call is a legally effective alternative for disputing the       2014 U.S. ?ist. LEXI$ 162219. 2Q14 WL 6607197, at
debt. Buaqh. 2Q14 U.S, Qist. LEX]$ 14569-2Q14 W                 Y. ln Clark v" Franklil Qqllpctipt 9ery". lnc., Na-14-Cy-
46Q221. at "4. The consumer just won't receive                  8A67, 2A15 U*$. Dist. LEXTS 7a94.4, 2A15 WL 3486767
verification or a copy of the judgment from the collector.      (D-.N.J. June 2, 2015), the court analyzed whether the
                                                                exact same language expressly or impliedly threatened
Second, plaintiff seems to argue the language "lF YOU           litigation. The court explained "[t]he use of words like
ARE NOT PAYING THIS ACCOUNT IN                        FULL,     'remedies,' 'defenses,' 'firm,' 'case,' and 'attorney' do
CONTACT YOUR ATTORNEY REGARDING OUR                             allude to legal rights, but the link to litigation is too
POTENTIAL REMEDIES, AND YOUR POTENTIAL                          tenuous to find that an unsophisticated debtor would
DEFENSES, OR CALL (888) 215-8961" is a demand for               think a lawsuit was going to be initiated against him if he
immediate payment that overshadows or contradicts his           did not pay the debt;' Clark, 2015 U.S. Dist. LEXIS
S 16929 rights. "lf a debt collector asserts that payment       7A944, 2Q1$ WL 3489287, at :3. Other courts have
must be made within the dispute period without                  reached    the same      conclusion on the same or
explaining that the consumer retains her dispute and             substantially similar language. Cavington u, Franklin
verification rights, the collector has likely overshadowed       Coileqle[ Sarvs", ,lnc., Nq. 16:2292:JW, ?016 U.S
a plaintiff's dispute rights." Bland, 128 l:. Supp. 3d at        Aist. LEXIS 1Q36A1, 2Q.16 WL 4159731, at.3 (D. Kan.
ll€S. "ln contrast, there is generally no overshadowing         Aug. 5. 2a16.); Rivera v. franklin Colleqtion $e$/s., lnc..
where debt collectors request payment but do not                 No- ey JZ631, 2Q17 U,S. Dist.lEXtS 1121Q5, 2417
indicate that the payment must be made before the                WL 3Q1588{4'3JE.D-EpJttly 19. 2811). This Court
expiration of the 30-day dispute window." /d. Here,             joins those courts and finds that the letter does not
nothing in the Letter requests payment during the 30-           threaten imminent legal action, and this argument fails.
day dispute window, and this argument fails.

Third, plaintiff argues the language "l INTEND TO               2.15 U.S.C.61s92e (Gount ll)
REPORT THIS ACCOUNT ON YOUR CREDIT
HISTORY AFTER 30 DAYS OF YOU RECEIVING THIS                     Under .{_1992e ,"[a] debt collector may not use any

                                              CAREN ENLOE Page 4 of 5


         Case 1:17-cv-00659-TDS-LPA Document 19-1 Filed 05/17/18 Page 5 of 6
                                             2018 U.S. Dist. LEXIS 78043,.12

false, deceptive, or misleading representation or means
in connection with the collection of any debt." 15 U.S.C.        lV. Conclusion
t 1692e. The statute then lists certain conduct that
violates the statute. Under S 1692e($|, a collector may          Debt Collector's motion to dismiss (#20) is granted, and
not "threat[en] to take any action that cannot legally be        plaintiff's motion for partial judgment on the pleadings
taken or that is not intended to be taken." /5 U.S.C. $          (#25) is denied as moot.
 1692e(5). Under S 1692eftQ), a collector may not
                                                                 Accordingly,
"use   [*13]   any false representation or deceptive
means to collect or attempt to collect any debt or to            lT lS HEREBY ORDERED that defendant Franklin
obtain information concerning a consumer." ?5 U.$.C,         S
                                                                 Collection Service's motion to dismiss (#20) is
 1692et10).                                                      GRANTED.

Plaintiff alleges Debt Collector violated $$ 169?e,              lT lS   FURTHER ORDERED that plaintiff Jeffrey
1092e(5), and 1692e{10)by threatening imminent legal             Hanford's motion for partial judgment on the pleadings
action, even though it "had no authority or ability to sue       (#25) is DENIED AS MOOT.
[p]laintiff to collect a debt allegedly owed to AT&T." (#16
at 11, fl 72.) The Court need not decide whether Debt            So ordered this 9th day of May 2018.
Collector had the authority or ability to sue because, for
the reasons explained above, the Letter did not threaten         /s/ Stephen N. Limbaugh, Jr.
imminent legal action. Plaintiff pleads no other facts to
                                                                 STEPHEN N. LIMBAUGH, JR.
support his allegation that the Letter is "confusing,
deceptive, and/or misleading" (#16 at 11, fl 75), so this        UNITED STATES DISTRICT JUDGE
claim will be dismissed.

                                                                   lirul nf   llocrr*c*t
B.MisspurtMerqhqlldi$ir P
Missouri law prohibits any person from using "deception,
fraud, false pretense, false promise, misrepresentation,
unfair practice or the concealment, suppression, or
omission of any material fact in connection with the sale
or advertisement of any merchandise in trade or
commerce[.]" RsMo. S 407.02:8.1. Plaintiff alleges the
Letter "falsely represented that AT&T and/or [Debt
Collectorl would sue Plaintiff and class members." (#16
at   12,   fl   81.) Plaintiff also alleges[*14] the Letter
"falsely represented that AT&T and/or [Debt Collector]
would [take] action against [p]laintiff and class members
that [Debt Collector] could not legally . . . take[]." (#16 at
12, 1[83.)

Assuming without deciding2 that RsMo.             I   4A7,Q2Q
applies to this case, plaintiff fails to state a claim. Again,
for the reasons explained above, the Letter did            not
threaten legal action. Thus, this claim will be dismissed.




2Jacksan v. Bartan, S.W"3d , Na. SC 95771. 2018.Mp.
 LEXIS 151. 2018 WL 1803065, at.S-7 (Mo. Apr. _1"7.241Q is
the Supreme Court of Missouri's last word on what activities
are done "in connection with" the sale of merchandise in
commerce.

                                                CAREN ENLOE Page 5 of 5


           Case 1:17-cv-00659-TDS-LPA Document 19-1 Filed 05/17/18 Page 6 of 6
